                      Case 3:05-cr-00292-VLB                       Document 227        Filed 01/13/15         Page 1 of 3

LF 245D (11/2013) Judgment in a Criminal Case for Revocations
        Sheet I



                                UNITED STATES DISTRICT COURT
                                                                J;)~Stti~t of Connecticut

          UNITED STATES OF AMERJI<;:::A.;                                   ~JfJf~GMENT IN A CRIMINAL CASE
                                                                             (For Revocation of Probation or Supervised Release)
                              v.
                                                                            · Case Number: 0205 3:05CR00292-002
                    Christopher Goins                                       USM Number: 15703-014

                                                                                                     Richard Reeve
                                                                                                   Defendant's Attorney
THE DEFENDANT:
   0 admitted guilty to violation of condition(s) 1, 2, 3            ~~---------------------
                                                                                                            of the term of supervision.
   0 was found in violation of condition(s)                                                          after denial of guilt.
The defendant is adjudicated guilty ofthese violations:




              2               The defendant shall not commit another federal, state or local crime.                           12113/2013




      The defendant is sentenced as provided in pages 2. through 2. of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
   D The defendant has not violated condition(s)                                    and is discharged as to such violation(s) condition.


       It is ordered that the defendant must notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and
United States attorney of material changes in economic circumstances.

Defendant's Soc. Sec. No.: 6236                                                                 December 18, 2014
                                      ----------------
                                                                                          Date of Imposition of Judgment
Defendant's Date of Birth: 1973
                                      ----------------
Defendant's Residence Address:                                                               /s/
                                                                                      v         ~Ignatureor Juage
                                                                                           Honorable Ellen Bree Burns
                                                                                            Senior U.S. District Judge
                                                                                            Name and Title of Judge
                      Case 3:05-cr-00292-VLB                         Document 227     Filed 01/13/15     Page 2 of 3
AO 2450 (Rev. 11/2013) Judgment in a Criminal Case tor Revocations                                              Judgment --Page 2 of2
        Sheet 2 -- Im risonment

DEFENDANT:                   Christopher Goins
CASE NUMBER:                 0205 3:05CR00292-002
                                                 IMPRISONMENT
       The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned
for a total term of:
51 months consecutive to custody being served in New Haven Superior Court Case Numbers: A22M-CR13-0085497-S, A22M-
CR13-0085495-S, A22M-CR13-0085493-S, and A22M-CR13-0085496-S, with no supervised release to follow.




      D      The court makes the following recommendations to the Bureau of Prisons:




[{]        The defendant is remanded to the custody of the United States Marshal.
D          The defendant shall surrender to the United States Marshal for this district:

           D         at                         on
           D        as notified by the United States Marshal.
D          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      D        before 2 p.m. on
      D        as notified by the United States Marshal.
      D        as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on -------------------- to ----------------------------------------
at                                                                          with a certified copy of this judgment.
     ----------------------------------------

                                                                                        UNITED STATES MARSHAL


                                                                                    DEPUTY UNITED STATES MARSHAL
                      Case 3:05-cr-00292-VLB                         Document 227                Filed 01/13/15   Page 3 of 3

AO 2450 (Rev. II /20\ 3} Judgment in a Criminal Case Personal Identification Attachment

DEFENDANT:                     Christopher Goins
CASE NUMBER:                   0205 3:05CR00292-002
DISTRICT:                      CONNECTICUT

                                Judgment in a Criminal Case Personal Identification Attachment
                                                 (Not for Public Disclosure)



The following unredacted personal identifiers are included with the judgment transmitted to the Attorney General
per 18 U.S.C. § 3612(b). A copy of this attachment shall also be provided to the attorney for the defendant, the
Probation and Pretrial Services Office, and the U.S. Sentencing Commission.

Pursuant to Rule 49.1 of the Federal Rules of Criminal Procedure, however, the personal data in this attachment
are not for public disclosure and must not be filed with the Clerk of the Court unless redacted or under seal, as
provided in the rule.




          Defendant's Soc. Sec. No.:                                                      6236
          Defendant's Date ofBirth:                                                       1973
          Defendant's Residential Address:




          Defendant's Mailing Address:
          (if d(flerent)
